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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

BIOGEN INTERNATIONAL GMBH                        )
and BIOGEN MA INC.,                              )
                                                 )
                        Plaintiffs,              )
                                                 )    C.A. No. 17-823-LPS
         v.                                      )    (Consolidated)
                                                 )
AMNEAL PHARMACEUTICALS LLC,                      )    C.A. No. 17-954-LPS
                                                 )
                        Defendant.               )
                                                 )

                       STIPULATION OF INFRINGEMENT BY ZYDUS

         WHEREAS Plaintiffs Biogen International GmbH and Biogen MA Inc. (collectively,

“Biogen”) assert that Defendant Zydus Pharmaceuticals (USA) Inc. (“Zydus”) infringes claims

1-4, 6, 8-13, 15, and 16 of U.S. Patent No. 8,399,514 (“the ’514 patent”) (collectively, the

“Asserted Claims” of the “Asserted Patent”) by submitting, or causing to be submitted,

Abbreviated New Drug Application No. 210538 (“Zydus’s ANDA”) seeking approval to engage

in the commercial manufacture, use, import, sale, or offer to sell Zydus’s generic capsules

containing dimethyl fumarate (“Zydus’s ANDA Products”);

         WHEREAS claims 5, 7, 14, and 17-20 of the Asserted Patent have not been asserted;

         WHEREAS, Zydus’s ANDA contained a certification pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) that, in its opinion, the Asserted Patent is invalid or would not be

infringed by the commercial manufacture, use, or sale of Zydus’s ANDA Products;

         WHEREAS, Zydus denies that the commercial marketing and sale of Zydus’s ANDA

Products would infringe any valid and enforceable claims asserted in this case but desires to

streamline the issues at trial;




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         NOW THEREFORE, Biogen and Zydus, by their undersigned counsel, STIPULATE as

follows:

         1.      For purposes of this Action only, Zydus stipulates that its submission of ANDA

No. 210538 constitutes infringement of the Asserted Claims pursuant to 35 U.S.C.

§ 271(e)(2)(A), provided those claims are not proven invalid or unenforceable.

         2.      By entering into this Stipulation, Zydus does not waive any invalidity defenses it

has raised. This Stipulation shall not be used to argue that claims satisfy the definiteness

requirements of 35 U.S.C. § 112, or for any other purpose other than the issue of infringement.

This Stipulation may not be used or admitted in any proceeding other than the instant proceeding

against Zydus concerning ANDA No. 210538.

         3.      The parties reserve all other claims and defenses.



IT IS HEREBY STIPULATED:

Dated: November 8, 2019


 ASHBY & GEDDES                                       PHILLIPS, GOLDMAN, MCLAUGHLIN &
                                                      HALL, P.A.

 /s/ Steven J. Balick                                 /s/ David A. Bilson
 ____________________________
 Steven J. Balick (#2114)                             John C. Phillips, Jr. (#110)
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 Attorneys for Plaintiffs                             Pharmaceuticals (USA) Inc.




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                 SO ORDERED, this ________ day of __________________________, 2019.


                                    ___________________________________________
                                    Chief Judge




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